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EXHIBIT E
                         Case 4:21-cv-02041-KM Document
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1                  IN THE UNITED STATES DISTRICT COURT                   1                                INDEX TO WITNESSES
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
2                                                                        2    JOSEPH W. HOPE              DIRECT CROSS REDIRECT RECROSS
     ANTHONY BARASKY,                   :
3                 Plaintiff                                              3    Examination by:
                                        :
4                                                                        4     Mr. Gryskewicz               4            --       47       --
          vs.                           :
5                                                                        5     Ms. Laughlin                 --           46       --       --
                                        :
6    KEVIN DENT, TYSON HAVENS,              CASE NO. 4:21-CV-02041       6
     JOSHUA BELL, CLINTON               :
7    GARDNER, CHRISTOPHER                                                7
     KRINER, JOSEPH HOPE,               :
8    LYCOMING COUNTY, OLD                                                8
     LYCOMING TOWNSHIP; and             :
9    CITY OF WILLIAMSPORT,                                               9
                     Defendants         :
10                                                                       10

11                                                                       11

12                                                                       12

13              Deposition of:       JOSEPH W. HOPE                      13                                INDEX TO EXHIBITS
14              Taken by         :   Plaintiff                           14   FOR - PLAINTIFF                                     MARKED ADMITTED
15              Before           :   Ervin S. Blank                      15   Plaintiff's Exhibit No. 1                            42      --
                                     Reporter-Notary Public
16                                                                       16
                Beginning        :   March 21, 2024; 9:09 a.m.
17                                                                       17
                Place            :   McCormick Law Firm
18                                   835 West Fourth Street              18
                                     Williamsport, Pennsylvania
19                                                                       19

20                                                                       20

21                                                                       21

22   COUNSEL PRESENT:                                                    22

23       LEONARD GRYSKEWICZ, JR., ESQUIRE                                23
         Lampman Law
24       2 Public Square                                                 24
         Wilkes-Barre, Pennsylvania 18701
25            For - Plaintiff                                            25


                                                                     2                                                                              4
1    COUNSEL PRESENT: (CONTINUED)                                        1                                   STIPULATION
2        AUSTIN WHITE, ESQUIRE                                           2                It is hereby stipulated by and between
         McCormick Law Firm
3        835 West Fourth Street                                          3    counsel for the respective parties that signing,
         Williamsport, Pennsylvania 17701
4              For - Defendants Kevin Dent and Tyson Havens              4    sealing, certification and filing are hereby waived;
5        SHAWNA R. LAUGHLIN, ESQUIRE                                     5    and that all objections except as to the form of the
         William J. Ferren & Associates
6        P.O. Box 2903                                                   6    question are reserved to the time of trial.
         Hartford, Connecticut 06104-2903
7              For - Defendants Joshua Bell, Clinton Gardner             7
                  and City of Williamsport
8                                                                        8                                       *   *        *
         MARK J. KOZLOWSKI, ESQUIRE
9        Marshall Dennehey                                               9
         P.O. Box 3118
10       Moosic, Pennsylvania 18507                                      10               JOSEPH W. HOPE, called as a witness, having
              For - Defendants Old Lycoming Township,
11                Joseph Hope and Christopher Kriner                     11   been duly sworn or affirmed, testified as follows:
12                                                                       12                               DIRECT EXAMINATION
13                                                                       13   BY MR. GRYSKEWICZ:
14                                                                       14         Q     Chief Hope, have you ever been deposed
15                                                                       15   before?
16                                                                       16         A     Yes.
17                                                                       17         Q     Okay. I'm going to give you some, you know,
18                                                                       18   just general instructions. I'm sure your attorney has
19                                                                       19   already told you and, you know, you probably heard
20                                                                       20   before. If you don't understand a question I ask you,
21                                                                       21   let me know. I will rephrase it. If you don't know
22                                                                       22   the answer to a question, that's also a perfectly
23                                                                       23   acceptable answer. If at any time you need a break
24                                                                       24   or, you know, something comes up, just let us know.
25                                                                       25   And do you have any questions before we start?


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1          A    No, sir.                                            1          A    Yes.
2          Q    Okay. Could you state and spell your name           2          Q    -- just let know, I will stop talking and let
3    for the record?                                                3    you finish your answer.
4          A    Joseph W. Hope. J-O-S-E-P-H, W., Hope,              4               The Lycoming County Narcotics Enforcement
5    H-O-P-E.                                                       5    Unit is often referred to as the NEU. Is that right?
6          Q    And where are you currently employed?               6          A    That is correct.
7          A    Lycoming County central processing part time.       7          Q    So could you describe for me how the Old
8          Q    And how old are you today?                          8    Lycoming Township Police Department would work with
9          A    61.                                                 9    the NEU in the area of October of 2020?
10         Q    How were you employed on October 1st of 2020?       10              MR. KOZLOWSKI: Object to the form. You can
11         A    I was the chief of police for Old Lycoming          11   answer.
12   Township Police Department.                                    12              THE WITNESS: That day Sergeant Kriner, who
13         Q    And when did you stop being the chief of            13   was my sergeant, approached me and said that he
14   police for Old Lycoming Township?                              14   received a -- it was actually, I believe, on the 2nd
15         A    I retired March 31st of 2021. Or, I'm sorry.        15   of October. He received a phone call from Detective
16   Yes, 2021. Yes.                                                16   Bell, who was part of the NEU -- is that okay if I use
17         Q    How long were you the chief of the Old              17   NEU?
18   Lycoming Township Police Department in total?                  18   BY MR. GRYSKEWICZ:
19         A    Five years.                                         19         Q    Yes, that's why I set it up that way.
20         Q    So then you would have been about -- chief          20         A    Who was part of the NEU, and that they had a
21   for about four years in October of 2020, roughly?              21   controlled buy that they were going to do -- an arrest
22         A    Roughly, yes.                                       22   for a controlled buy within our jurisdiction, and they
23         Q    How long have you been a police officer?            23   wanted us to assist them in stopping the vehicle.
24         A    It was just shy of 25 years. Probably about         24         Q    Okay. Now, in general would the -- not
25   24 years and two months, three months.                         25   necessarily specifically to Anthony Barasky's case,

                                                                6                                                                   8
1          Q    Okay. And do you still consider yourself a          1    but in general, would -- how often do you think the
2    police officer or did that end when you retired as             2    Lycoming Township -- the Old Lycoming Township Police
3    chief?                                                         3    Department would work with the NEU in 2020?
4          A    Well, I think that's always in your -- in           4          A    In 2020? I don't recall. In other words,
5    your blood, but I mean, it's not -- I don't have               5    it's not like a daily basis or anything or weekly.
6    any -- you know, I'm not employed as a police officer,         6          Q    Okay.
7    no.                                                            7          A    Generally whenever they would request our
8          Q    Okay. I wasn't sure if they would still deem        8    assistance because it's our jurisdiction. And pretty
9    you a police officer in the central processing unit.           9    much in Lycoming County, even if we were to go
10         A    No, no.                                             10   somewhere -- being Old Lycoming Township Police
11         Q    Okay. In October of 2020, was the Old               11   Department would go somewhere to serve a warrant or do
12   Lycoming Township Police Department working with the           12   something --
13   Lycoming County Narcotics Enforcement Unit?                    13         Q    Um-hum.
14         A    When was that?                                      14         A    -- we would notify that agency so that they
15         Q    October of 2020.                                    15   had somebody present.
16         A    Working with?                                       16         Q    Okay. And I know you said you're offering
17         Q    Yes.                                                17   assistance to the NEU. Could you describe what that
18         A    We were -- we had a request from Lycoming           18   assistance would be generally?
19   County Narcotics Unit --                                       19         A    On that date?
20         Q    And would you agree --                              20         Q    Just in general in 2020, if the NEU called
21         A    -- for assistance. I'm sorry. For                   21   you up and said, hey, we need your help with
22   assistance.                                                    22   something, what would your police department normally
23         Q    No, that's okay. Yep. And if at any time,           23   do?
24   you know, you need to finish your question or                  24         A    Normally we would have a briefing to see
25   something --                                                   25   what -- what the incident or -- the incident consisted


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1    of.                                                             1          A     At the Old Lycoming Township Police
2           Q   Would your police department be in more of a         2    Department in the patrol room which we used for a
3    support role providing like extra manpower or would             3    briefing room also.
4    you actually be conducting investigations with them?            4          Q     And who was present at that briefing?
5           A   No, we don't do the investigations with them.        5          A     I recall Sergeant Kriner and myself. Officer
6    It's totally separate from Old Lycoming. We would               6    Brown and Officer Engel were on patrol that day. I
7    just be in a support role.                                      7    believe we brought them in because -- and Detective
8           Q   Okay. And then you said on October 2nd you           8    Bell, Detective Havens, and Detective Gardner, I
9    believe Officer Kriner was contacted by Detective Bell          9    believe. I know Detective Dent was involved, but I'm
10   of the NEU?                                                     10   not sure he was at the briefing. I don't recall that.
11          A   Yes. And he approached me and said that they         11         Q     And Officers Hope and Engel, they were
12   wanted the assistance -- or some assistance from us             12   members of the Old Lycoming Township Police
13   because it was in our jurisdiction.                             13   Department?
14          Q   And that was Officer Kriner that approached          14         A     Brown and Engel.
15   you?                                                            15         Q     Brown and Engel?
16          A   Yeah. He was sergeant at that time. He was           16         A     Yes.
17   my sergeant.                                                    17         Q     Sorry.
18          Q   Prior to October 2nd of 2020, did you have           18         A     They were both patrolmen.
19   any involvement with the NEU's investigation into a             19         Q     And who was leading that briefing?
20   person Matthew Sumpter?                                         20         A     Detective Bell.
21          A   The NEU's investigation? No, I did not.              21         Q     And what was said at that briefing?
22          Q   And to the best of your knowledge, did the           22         A     Detective Bell advised us that the
23   Old Lycoming Township Police Department have any                23   narcotic -- the NEU had a controlled buy. They were
24   involvement prior to October 2nd into -- in the                 24   attempting to set up a controlled buy for the arrest
25   investigation into Matthew Sumpter?                             25   of Mr. Barasky, and it was located in our jurisdiction

                                                                10                                                                   12
1           A   No. For the NEU's case?                              1    of Hepburn Township, which we contracted police
2           Q   Yes.                                                 2    services to, in a housing development on Brentwood
3           A   No.                                                  3    Drive. Mr. -- the CI in the case, they identified as
4           Q   When was the first time you learned of an            4    Matthew Sumpter who lives in that development on
5    Anthony Barasky?                                                5    Brentwood Drive.
6           A   The day of the briefing.                             6                Detective Bell at that point proceeded to
7           Q   And that would have been October 2nd?                7    provide us with information that they had other buys
8           A   October 2nd. Yes, I'm sorry.                         8    from Mr. Barasky, and they did present us with his
9           Q   So -- just so I have my timeline right here,         9    photograph and a criminal history for him. His
10   I guess. Detective Bell would have called Officer               10   criminal history did show convictions of drug arrests
11   Kriner first and approached him about getting                   11   and delivery. And one of the concerns they had with
12   assistance from your police department?                         12   Mr. Sumpter's -- with the location or the prescribed
13          A   Officer Bell contact -- yes. I was                   13   location of where the past purchases have been made to
14   approached by Sergeant Kriner who received a phone              14   Mr. Sumpter from Mr. Barasky, was at the development
15   call from Detective Bell of the NEU requesting                  15   in front of his house.
16   assistance, yes, because it was in our jurisdiction.            16               They were concerned because Mr. Barasky had
17          Q   Okay. And then after officer -- or Sergeant          17   fled police previously and actually crashed into a
18   Kriner approached you, what did you do in response?             18   building during the day. And to get to Mr. Sumpter's
19          A   Oh, he asked if it was okay if -- you know,          19   house, you had to go up to -- up Lycoming Creek Road,
20   if they would come up and do a briefing on what they            20   which obviously you're not familiar with, but it is
21   had with Mr. -- well, we didn't know at that time it            21   a -- it is a four-lane road. It's the main artery
22   was Mr. Barasky, but on the case. And I said, yes,              22   that leads north from the City of Williamsport all the
23   we'll see if we can assist them.                                23   way up to Trout Run. That has multiple businesses,
24          Q   And where -- where did that briefing take            24   side streets, residential -- residential homes and
25   place?                                                          25   supermarkets, et cetera, almost the full length of


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1    that.                                                            1         A      No, they did not want to stop him because
2                So they were concerned about -- they were            2    that would have been the route that went to this road
3    concerned about doing a stop on Mr. Barasky in that              3    that led to the development. He would have had to
4    location for safety reasons, so they asked us if there           4    take that route. They did not want to stop him there
5    was someplace else that there was a possibility we               5    due to the past with the fleeing of officers and the
6    would stop him that might be a little bit safer.                 6    safety of everybody, so they wanted to know if there's
7    Weren't sure at that time, but we knew that there was            7    someplace else that they could do it before he
8    only one road that led to Mr. Sumpter's development.             8    actually got to the development.
9    That road is just a two-lane road, rural, wooded. Has            9         Q      Okay. Did they say -- strike that. Was
10   some residents, but most of them are back off the                10   there a reason they didn't want to stop him on
11   roadway, you know, access by driveways. And then you             11   Brentwood Drive inside the development by where
12   got up -- as you got about a half mile up that road,             12   Sumpter lived?
13   you turn into the development.                                   13        A      I think because of safety issues. I mean,
14           Q   Um-hum. So let me back you up and ask you.           14   it's a development. It's a common develop -- I don't
15   So Detective Bell said that they had past buys between           15   want to say common, but it would be common as you can
16   Barasky and Sumpter, is that right?                              16   go into a development, have houses with small yards.
17           A   That is correct.                                     17   It wasn't like spread out. So I believe it was more
18           Q   Could you describe what he told you about            18   probably a safety issue.
19   those past buys, how frequently they were, when they             19        Q      Okay. And inside that development on
20   happened, et cetera?                                             20   Brentwood Drive, would there be lines painted on those
21           A   Alls I recall is that they had -- can you ask        21   roads?
22   that again?                                                      22        A      No.
23           Q   Yes. Absolutely.                                     23        Q      Okay. So a lane big enough for two cars to
24           A   I want to make sure I understand it.                 24   pass each other --
25           Q   So could you describe how Detective Bell             25        A      Yes.

                                                                 14                                                                   16
1    presented the past buys he said he knew of between               1         Q      -- but still no lines painted. It's a
2    Anthony Barasky and Matthew Sumpter?                             2    narrow --
3            A   He said -- I think I stated, but he said that        3         A      Correct. And they are all paved.
4    basically Mr. Sumpter would make a phone call for                4         Q      And then you said you don't remember
5    heroin, and he would contact Mr. Barasky by phone.               5    Detective Dent being at that briefing. Is that right?
6    Mr. Barasky then would come and deliver the drugs at             6         A      I don't recall him being there.
7    his residence in the development.                                7         Q      Do you know if he was on the phone or
8            Q   Did Detective Bell present that to you in a          8    communicating with officers in some other way there?
9    way that made it seem like it was a controlled buy               9         A      During the briefing?
10   that police observed it or something that just Matthew           10        Q      Yes.
11   Sumpter reported to police?                                      11        A      I don't know.
12           A   He didn't really say, that I recall, anyhow.         12        Q      Did Detective Bell tell you where he got the
13           Q   Did he say how often that the buys would have        13   information he was presenting to you during that
14   happened in the past?                                            14   briefing?
15           A   No, he didn't.                                       15        A      Just in general, as I already stated, that
16           Q   And did he tell you when the last alleged buy        16   they had buys from him before, and that Mr. Sumpter
17   occurred?                                                        17   had purchased drugs from him and it usually occurs in
18           A   No, I don't believe so.                              18   the development.
19           Q   Okay. And I know you were describing                 19        Q      Did Detective Bell present you with Matthew
20   Lycoming Creek Road for us.                                      20   Sumpter's criminal history?
21           A   Yes.                                                 21        A      We were aware of Mr. Sumpter's. I can't
22           Q   That's the four-lane road, correct?                  22   remember if he did. We were familiar with Mr.
23           A   That's a four-lane road.                             23   Sumpter's -- Old Lycoming had had some arrests that we
24           Q   Is that the area they were originally                24   were involved in with Mr. Sumpter.
25   planning on stopping Mr. Barasky?                                25        Q      Okay. So you and Officer Kriner would have


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1    been aware of Matthew Sumpter's criminal record?                 1           A    Correct.
2            A   Yes, to an extent. I mean, I don't know if           2           Q    And the same, I know we talked about Officer
3    he had anything outside of that, out of our arrests              3    Kriner. Are you referring to Christopher Kriner?
4    or --                                                            4           A    That's correct.
5            Q   Okay. Were you ever involved personally in           5           Q    So after the briefing, did you go with
6    arresting Matthew Sumpter?                                       6    Gardner and Bell in their undercover car to find a
7            A   Not -- I was familiar with some of the               7    place to stop Anthony?
8    investigations. He supported his drug habit with                 8           A    I did. I didn't go in their car. I went in
9    breaking into cars in his neighborhood and stuff, and            9    my car. They -- okay. We went to an area. But what
10   pretty much he was the go to if something happened in            10   I wanted to add to that is Officer Havens was going to
11   the neighborhood. But he was always up front with us.            11   be surveillance -- and that would be Tyson Havens,
12   We never had an issue with him. He always seemed to              12   would be a surveillance -- in a surveillance vehicle
13   be -- he was your drug addict. He had an issue with              13   undercover somewhere on that route of Lycoming Creek
14   drugs and -- but, you know, when you approached him,             14   Road to notify us if, in fact, Mr. Barasky was on his
15   he didn't lie to us or anything like that.                       15   way.
16           Q   Did -- at the briefing on October 2nd, who           16               And then to follow up with your question on
17   did you believe was the lead investigator on the                 17   going to the location, yes, we did go up, turned onto
18   Barasky investigation?                                           18   Eckard Road, which is the road that leads to the
19           A   The lead investigator?                               19   development. Approximately a hundred to 150 feet off
20           Q   Um-hum.                                              20   of Lycoming Creek Road on Eckard Road we located a
21           A   I think it was probably Officer -- or                21   gravel lot that belonged to the Roan RV travel trailer
22   Detective Dent, and Officer Bell was just leading the            22   for their storage lot.
23   briefing.                                                        23          Q    Um-hum.
24           Q   Prior to arresting Anthony Barasky on October        24          A    We thought that would -- they felt that that
25   2nd, did you have any contact directly with Detective            25   would give us enough time. You know, he first would

                                                                 18                                                                   20
1    Dent about the Barasky investigation?                            1    have to commit to turning onto that road to head to
2            A   I did not. This was the first we heard               2    the development from Lycoming Creek Road. Plus it
3    anything, was at that briefing.                                  3    would give us an opportunity to get out -- you know,
4            Q   Okay. At that briefing did you also discuss          4    to attempt to stop him before he actually reached the
5    a plan to stop Anthony Barasky's car and arrest him?             5    development. Which I stated was like -- it's like
6            A   As I stated, Detective Bell was concerned,           6    four tenths of a mile from Lycoming Creek Road to
7    obviously for the safety, as we would be, too, after             7    where you turn into the development on Eckard Road.
8    seeing, you know, his prior history and what had                 8           Q    Okay. Now, when you got in the cars to go
9    happened with the fleeing. It would -- Officer Bell              9    and find this location to stop Mr. Barasky, did you go
10   said that he and Officer -- or I'm sorry. I keep                 10   back to the police station then to discuss it again --
11   getting officer -- I'm not used to Detective.                    11          A    No.
12               He and Detective Gardner would go in their           12          Q    -- or you just stayed there and carried out
13   undercover vehicle with me to a location to try to               13   the plan?
14   find somewhere on that road where we could post, so              14          A    We stayed there. And part of that -- because
15   that if the -- you know, if the deal was going through           15   of the fleeing and the concern and that being that
16   and Mr. Barasky was arriving to the location, that we            16   road did continue past the development, so we were
17   could -- they could intercept him before he would                17   going to put a marked unit at the development entrance
18   reach the residence of Mr. Sumpter.                              18   with Officers Engel and Officer Brown with the stop
19           Q   And just so I make sure I have the names             19   sticks. Just in case he would attempt to flee, we
20   right, too. When you refer to Detective Bell, do you             20   could stop him and create a safe and -- you know, not
21   mean Joshua Bell?                                                21   have any safety issues. Sergeant Kriner was actually
22           A   Yes.                                                 22   just a little bit past them on that road in case -- to
23           Q   And when you refer to Officer Gardner or             23   intercept Mr. Barasky if he would flee, but still
24   Detective Gardner, are you referring to Clinton                  24   close enough if we needed assistance of any kind.
25   Gardner?                                                         25          Q    Prior to arresting Anthony Barasky, did you


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1    know or were you told if Matthew Sumpter ever worked             1    informant, Matthew Sumpter, was made corroborating the
2    as an informant for the NEU previously?                          2    details of the controlled sale of heroin.
3          A     No.                                                  3            A   That was -- yes, that's when we were on site
4          Q     I know you're a police officer for 25 years.         4    in that gravel lot.
5    I'm sure you have extensive training and experience in           5            Q   Okay. Do you --
6    your career. Have you ever used informants before in             6            A   We were notified via radio.
7    drug investigations?                                             7            Q   Do you know who notified you via radio of
8          A     No, I haven't.                                       8    that?
9          Q     Did you receive any like trainings in using          9            A   I don't. It was one of the NEU guys. I
10   informants before?                                               10   don't know if somebody relayed it to Bell and -- and
11         A     We -- I did have some training, both state,          11   Gardner. I just -- they just said that the phone call
12   local, federal, you know, in drug investigations and             12   had been made and Mr. Barasky was on his way.
13   arrests. That -- I was more the patrol guy coming up             13           Q   Okay. And was that almost like the exact
14   through the ranks, and my -- in Old Lycoming Township            14   language they relayed? Like there's a phone call made
15   Police Department, we tried to get officers that                 15   and Mr. Barasky's on his way. Was it any more
16   specialized in various -- various things they wanted             16   specific than that?
17   to do.                                                           17           A   Well, I think they said that he is en route
18               For instance, I'm a certified fire                   18   to do the -- with drugs to do the deal, something to
19   investigator, so that was my -- I had 48 years in the            19   that effect. I mean, I don't recall exactly what was
20   fire service, so that was my -- the volunteer fire               20   said.
21   service, so that was my -- that's what I inspired to             21           Q   Did the NEU officers ever tell you that they
22   do, is to assist in that. There was others that were             22   had no way of identifying Anthony Barasky's voice on
23   involved in -- in drug investigations.                           23   that phone call?
24         Q     Through any of your training and experience,         24           A   No.
25   did you learn that it would be important if you were             25           Q   Did you ever ask them how they knew it was

                                                                 22                                                                    24
1    using an informant to know if they provided accurate             1    Anthony Barasky on the other side of the phone call?
2    information previously?                                          2            A   No, not -- not at that point. I mean, we
3          A     Yes.                                                 3    were in the field and --
4          Q     Is that, yes, you were taught that?                  4            Q   So it would have been unusual, I guess, if
5          A     Yes.                                                 5    you picked up the radio and, you know, questioned them
6          Q     Okay. I'm sorry. Sometimes it doesn't come           6    how they knew it?
7    out right on the transcript, so I just clarify the               7            A   Correct. Yes.
8    question.                                                        8            Q   Were you told how many phone calls were made
9          A     Yes.                                                 9    between the informant and Anthony Barasky that day?
10         Q     I'm not trying to be a wise guy.                     10           A   No, I was not.
11               Do you remember filling out interrogatories          11           Q   And I believe from your previous answer, they
12   in this case, written responses with your attorney?              12   didn't tell you specifically what was said on the
13         A     Yes.                                                 13   phone call, that was more just, you know, he's on his
14         Q     In response to Interrogatory 12 you wrote            14   way?
15   that you were informed that a phone call between the             15           A   That's correct.
16   Plaintiff and the confidential informant was made                16           Q   And I know you said previously in your
17   corroborating the details of a controlled sale of                17   testimony that the NEU officers informed you and you
18   heroin. Do you remember that? If you don't, I could              18   knew of Anthony Barasky's criminal record, that there
19   show it to you.                                                  19   was a fleeing accusation previously?
20         A     No, just repeat it again.                            20           A   Correct.
21         Q     Yeah. Do you want to read your response?             21           Q   Did you know what the specifics of that
22         A     No, I want you to -- the question.                   22   fleeing was?
23         Q     So in response to Interrogatory 12, you wrote        23           A   Well, actually until they brought it up that
24   that you were informed that a phone call between the             24   day --
25   Plaintiff, Anthony Barasky, and the confidential                 25           Q   Um-hum.


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1           A       -- I was actually working that day, but it           1            A   I think the plan was already from the NEU to
2    was away from our jurisdiction, but I remember when he              2    provide the safest stop we could for -- you know, Mr.
3    crashed into the side of the Kmart.                                 3    Barasky and all the residents in the township. We
4           Q       Okay. And I guess that would have been a big         4    just went, you know, with the plan as far as where we
5    deal in this area --                                                5    could. I mean, obviously they didn't work in our
6           A       Oh, yeah.                                            6    jurisdiction a lot so they didn't have ideas where to
7           Q       -- if somebody crashes into the side of a            7    park, where to --
8    Kmart?                                                              8            Q   So you would say that the general plan came
9           A       Yeah. And then fled across parking lots and          9    from the NEU that, you know, we want to stop him in a
10   there was a foot pursuit and -- but, yeah, we weren't               10   location before the development because of the fleeing
11   involved in it. But once they had said that this is                 11   concern?
12   the guy that fled, and then I recall that happening.                12           A   But not on Lycoming Creek Road.
13          Q       Okay.                                                13           Q   But not --
14          A       I think it was a year or so before, whatever.        14           A   Someplace where it could be managed.
15   It wasn't --                                                        15           Q   But then I suppose you lended your local
16          Q       If I told you it was around 2016, would that         16   expertise to select the specific location for the
17   sound right? If you don't remember, that's fine.                    17   stop?
18          A       I don't remember.                                    18           A   Well, we went up -- we went to that area
19          Q       And you said they actually -- the NEU                19   along -- myself along with officer -- or Detective
20   officer, Detective Bell, I believe you said, showed                 20   Bell and Gardner and we found that gravel lot. It
21   you a copy of Anthony's criminal history --                         21   was -- it was far enough off Lycoming Creek Road to
22          A       That's correct.                                      22   know that if Mr. Barasky would turn onto there, it was
23          Q       -- that would have listed that?                      23   more than likely not heading to the development. We
24          A       I don't know. I don't recall if that listed          24   had that short distance before he got to the
25   it or not. I just know that when they stated it, you                25   development to stop him. I don't recall who placed

                                                                    26                                                                    28
1    know, I remember seeing the drug charges.                           1    the Officers Engel and Brown with the stop sticks past
2           Q       So I know you took us to the point where you         2    the development. It was just a general consensus, but
3    selected a location for the traffic stop by that                    3    they went there and that's where they were, so the
4    gravel lot. What was the plan once Anthony Barasky's                4    marked car would be there.
5    vehicle came into the area to, you know, execute the                5            Q   Um-hum.
6    traffic stop?                                                       6            A   And then they were behind their car with the
7           A       The reason that officer -- or Detective Bell         7    stop sticks, if, in fact, we couldn't stop him.
8    and Detective Gardner were with me is so they could                 8            Q   And were you parked in that gravel lot
9    point out the vehicle so that I could stop it.                      9    waiting for Mr. Barasky to show up?
10          Q       Okay. And were they in the same car as you           10           A   Yes.
11   or a different vehicle?                                             11           Q   How long do you think you waited in that
12          A       They were directly behind me in an undercover        12   gravel lot before you were told Barasky was on his way
13   car.                                                                13   in that radio communication you discussed?
14          Q       Okay. And you said Tyson Havens was located          14           A   I hate to speculate, but it wasn't very long.
15   somewhere on Lycoming Creek Road to spot Anthony                    15   But I don't know.
16   Barasky's car earlier?                                              16           Q   How -- and an estimate it was fine, too,
17          A       If he was en route via that way, yes, he             17   between when, you know, it gets -- I guess strike
18   would be able to -- would be able to identify the car               18   that.
19   and give us information that he was on the way. Yes.                19               Did Tyson Havens call out over the radio that
20   I don't know where on Lycoming Creek Road --                        20   he observed Anthony Barasky on Lycoming County Creek
21          Q       Okay.                                                21   Road at some point?
22          A       -- but I know it was Lycoming Creek Road.            22           A   We first -- we first got the notification,
23          Q       Would you agree with me that all the officers        23   and as I stated before, I don't recall who.
24   at that briefing worked together to create the plan to              24           Q   Okay.
25   stop Anthony Barasky's car?                                         25           A   Who -- it came over the radio that the phone


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1    call had been made and Mr. Barasky was on his way --             1         Q        Did his driving change in any way that you
2            Q   Um-hum.                                              2    can remember?
3            A   -- to that.                                          3         A        I don't recall.
4            Q   Um-hum.                                              4         Q        Okay.
5            A   You know. It was a short time later --               5         A        I just -- it just appeared that he was -- he
6            Q   Um-hum.                                              6    was continuing without yielding or stopping.
7            A   -- when we were notified that -- and I don't         7         Q        After Barasky stopped his vehicle, what
8    recall again if it was Havens or -- or if they radioed           8    happened then?
9    or -- to Gardner and Bell or who it was, but said that           9         A        He stopped the vehicle sort of like on a
10   he had just passed the location of Trooper Havens.               10   little bit of angle. Like I said, he came back out on
11           Q   Okay.                                                11   the road and the marked car was there. Immediately I
12           A   And he was on his way north on Lycoming Creek        12   had -- I know that Gardner and Bell were on my left
13   Road, which was consistent with the route he would               13   side, and another car pulled up, which it was
14   take to get to the Eckard Road and go to the                     14   Detective Havens.
15   development.                                                     15        Q        Um-hum.
16           Q   How were you informed of which car to stop           16        A        They immediately got out of the car and
17   then?                                                            17   approached the car, shouting orders for Mr. Barasky.
18           A   By Bell. Bell and Gardner. I don't even              18   I didn't have a chance to even get out of my car at
19   remember which one it was, but it was one of them in             19   that point.
20   the car said, that's the car, stop it.                           20        Q        Did they have their firearms drawn --
21           Q   Okay. And then what did you do in response           21        A        Yes.
22   when you heard that communication over the radio?                22        Q        -- when they approached the car?
23           A   I pulled out of my location. They were right         23        A        Yes, they did.
24   behind me.                                                       24        Q        And do you remember what orders they were
25           Q   Um-hum.                                              25   shouting at him?

                                                                 30                                                                     32
1            A   Bell and Gardner. I immediately turned on my         1         A        I know it was see my hands -- want to see
2    lights and siren and was behind the vehicle as it                2    your hands. Get out of the car. Open the door,
3    proceeded. It would be probably -- without a compass             3    something -- to that effect. I mean, you know, it --
4    heading -- probably east just because Lycoming Creek             4    there was enough going on that I just at that point
5    Road runs north and south. So it was heading towards             5    stayed back because, obviously, didn't want to -- you
6    the development.                                                 6    know, we didn't need anybody else there in cross fire
7            Q   And how far did Barasky's car travel once you        7    situations and stuff, so I just stayed at my car in
8    had your lights and siren on until he stopped?                   8    case I needed to get back into it for either cover or
9            A   Well, it took me just a short time to catch          9    if Mr. Barasky would take off, you know.
10   up to him, but he went the full four-tenths of a mile            10        Q        Now, did you see anybody try to break a
11   from Lycoming Creek Road to the development. As a                11   window on Mr. Barasky's car?
12   matter of fact, I had radioed that he's not stopping             12        A        I did not.
13   because he gave no indication. There was a couple                13        Q        How did they get Mr. Barasky out of his car?
14   spots for him to pull over, including a couple                   14        A        The door opened.
15   driveways that led back to houses, and a berm on the             15        Q        Um-hum.
16   road. He actually got to the development entrance,               16        A        Officer Bell was in front of the driver's
17   turned onto the entrance and immediately turned back             17   door at the fender.
18   onto the road and then stopped.                                  18        Q        Um-hum.
19           Q   Okay.                                                19        A        And Detective Havens was behind the driver's
20           A   I believe that's probably when he saw the            20   door, and the other side was Detective Gardner.
21   marked car, because there's a slight hill there.                 21        Q        Um-hum.
22           Q   Now, during that time, in that four-tenths of        22        A        When the door opened, I saw Detective Havens
23   a mile stretch, did Mr. Barasky accelerate at a rapid            23   reach in, pull Mr. Barasky out, put him up against
24   rate?                                                            24   his -- Mr. Barasky's car that he was driving, right at
25           A   I don't believe so, no.                              25   the passenger -- rear -- driver's side passenger door,


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1    rear door.                                                       1    actually -- or I'm sorry. Detective Bell approached
2          Q      Okay.                                               2    and said we were good to go.
3          A      Okay.                                               3            Q   Okay. And did you in that minute or so
4          Q      Were you able to see if Barasky opened the          4    between when Mr. Barasky was arrested, you were told
5    car door himself or police had to forcibly open it?              5    you were good to go, did you observe police search Mr.
6          A      I don't recall them forcibly opening it. I          6    Barasky or search of his vehicle at all?
7    don't know how it got open. I mean, it wasn't like               7            A   I think they patted him down or -- I don't
8    they were prying or anything on it --                            8    know of it was a search, a frisk incident. I don't
9          Q      Okay.                                               9    recall. But, yes, I believe it was trooper -- or
10         A      -- that I saw.                                      10   Trooper Havens -- I believe it was Detective Havens
11         Q      Aside -- and then you said Detective Havens         11   that did that.
12   pulled him out of the car by his arm?                            12           Q   Okay. Did they tell you that no drugs were
13         A      Yeah. Took him by the arm. Controlled him,          13   found on Mr. Barasky?
14   brought him out, up against the car.                             14           A   No, they did not.
15         Q      Did it look to you like it was forcible pull        15           Q   When you were told you were free to go, what
16   or more just guiding him? How would you describe it?             16   did you do next?
17         A      I think it was more of a controlled, get my         17           A   I just made sure my guys were all right,
18   hands on you, control you and get you out of the car.            18   because they were still at their vehicle.
19   They didn't throw him to the ground or nothing like              19           Q   Um-hum.
20   that or --                                                       20           A   They did not approach, either. Basically
21         Q      And you would agree like Mr. Barasky didn't         21   we're taught if you're going to deploy the sticks, to
22   resist at that point or fight Detective Havens?                  22   have a safety barrier between you and the fleeing
23         A      No.                                                 23   vehicle, whether it be guard rails. And I believe
24         Q      Did you observe Detective Havens place              24   they positioned themselves properly there.
25   handcuffs on Mr. Barasky then?                                   25           Q   Um-hum.

                                                                 34                                                                    36
1          A      I did.                                              1            A   So they both got in their car. And by then
2          Q      Did you get out of your vehicle at any point        2    Sergeant Kriner came driving down, because I think
3    during that --                                                   3    there was a radio communication he was in custody
4          A      I was out of my vehicle. I was at my door.          4    or --
5    I didn't -- so I had -- I had the undercover that Bell           5            Q   Um-hum.
6    and Gardner were in.                                             6            A   -- or detained or something to that effect.
7          Q      Um-hum.                                             7    Because I know Sergeant Kriner arrived and that's when
8          A      I was able to open my door. I stood there.          8    we left.
9    I wasn't going to sit in my car, obviously, but I did            9            Q   Okay. So Officers Brown and Engel would have
10   not approach the vehicle.                                        10   left at the same time you did --
11         Q      Did you have your firearm drawn at that             11           A   As far as I --
12   point?                                                           12           Q   -- roughly?
13         A      No, I did not.                                      13           A   Well, yeah. I mean, there was --
14         Q      And would that have been for essentially            14           Q   Within a couple minutes of each other?
15   safety reasons because there were police officers in             15           A   Until we got cars moved around and stuff,
16   front of you?                                                    16   yes, I believe so.
17         A      There was police officers in front and              17           Q   Did Sergeant Kriner stay at the scene or did
18   they -- you know, their guns were drawn and I felt               18   he leave with you guys?
19   that it was under control at that point.                         19           A   I believe he left with us, too.
20         Q      Did you have any cause to shout orders or           20           Q   After Barasky was arrested, you were told you
21   anything at Mr. Barasky?                                         21   were free to leave, did you have any involvement in
22         A      No, sir.                                            22   the investigation or criminal charges?
23         Q      After Mr. Barasky was in handcuffs, what            23           A   No, I did not.
24   happened next?                                                   24           Q   Do you know where Mr. Barasky was taken after
25         A      Well, within a minute or so, Gardner                25   he was arrested?


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1          A        I do not.                                            1    staged waiting for Mr. Barasky?
2          Q        And do you know -- do you even know if his           2                MR. KOZLOWSKI: What do you want him to put
3    vehicle was towed after he was arrested?                            3    there, an X or --
4          A        I do not. I think they mentioned they were           4                MR. GRYSKEWICZ: Or a circle, I think. Yeah.
5    getting a tow, but --                                               5                THE WITNESS: It would probably -- let's see.
6          Q        But you weren't there when the tow truck             6    There's Roan's RV. This would be the lot. Probably
7    arrived --                                                          7    in here somewhere (indicating).
8          A        No.                                                  8    BY MR. GRYSKEWICZ:
9          Q        -- or anything like that?                            9          Q     And could you put an X on the map where Mr.
10         A        Huh-uh.                                              10   Barasky stopped his vehicle?
11         Q        I'm going to show you a map here. Take one           11         A     It would have been right in here
12   and pass it down.                                                   12   (indicating).
13                  MR. KOZLOWSKI: Sure.                                 13         Q     And could you put a square on the map where
14   BY MR. GRYSKEWICZ:                                                  14   Officers Brown and Engel had the tack strips set up?
15         Q        Take a minute and look at it. So is this --          15         A     It would have been just past.
16   would you agree with me that this is an accurate                    16         Q     Okay. So that -- I know that looks like it
17   depiction of the Brentwood Drive area where the                     17   might farther down the road. Is it like -- basically
18   vehicle stop occurred where Mr. Sumpter's house is?                 18   like right beyond the intersection?
19         A        That is correct.                                     19         A     Yeah, it's just beyond the intersection.
20         Q        Okay. Would you agree with me that that              20   Right when you come here, there's just a little bit of
21   little red marker towards the bottom of the map would               21   a hill and a turn. They would have been right there
22   be roughly where 416 Brentwood Drive is where Mr.                   22   so they were -- you could see them from where Mr.
23   Sumpter lived?                                                      23   Barasky stopped. So, yeah, maybe -- can I cross that
24         A        I would say approximately. It looks a little         24   out and initial it?
25   bit -- it looks like it might be closer to that                     25         Q     Yeah, yeah. Please do.

                                                                    38                                                                   40
1    intersection than it would be. It's -- I know there's               1          A     It would probably have been like -- probably
2    three or four houses right in here. But, yeah, that's               2    right in here (indicating).
3    general location.                                                   3          Q     Okay. And then you would agree with me on
4          Q        Okay.                                                4    this map, once Mr. Barasky turned onto Miller Road,
5          A        On that -- yeah, Brentwood Drive and he came         5    there would have been no other outlet besides Miller
6    around and out Rick Lane.                                           6    Road from that development?
7          Q        Now, so we could see on this map, it appears         7          A     That's correct. He had to circle all the way
8    Miller Road goes into that development.                             8    back around throughout that development to get back.
9          A        Correct.                                             9          Q     Okay. And once you're on Miller Road, he
10         Q        Is that what you were discussing earlier?            10   would have still had to make, it looks like two turns
11         A        That's where Mr. Barasky pulled in and then          11   to me before he would have got to Brentwood Drive?
12   immediately pulled out back onto Eckard Road. Eckard                12         A     Yeah. It's actually six-tenths of a mile
13   Road would be that -- is it Route -- Township Route                 13   from that intersection of Miller Road and Eckard Road
14   128 or whatever?                                                    14   to Mr. -- to Mr. Sumpter's house. Yes, he would have
15         Q        I believe if you're looking, Eckard Road is          15   come up -- would have come up Miller to Airline.
16   listed on --                                                        16         Q     Um-hum.
17         A        Oh, is it listed?                                    17         A     Airline probably a hundred feet.
18         Q        Over on this side of the map, but you have to        18         Q     Um-hum.
19   follow it all the way around.                                       19         A     And then turn onto Brentwood and then go
20         A        Yeah, yeah. It would be right here                   20   around there. So he would have had to come up here,
21   (indicating). Yes.                                                  21   turn onto Airline, then onto Brentwood to come around.
22         Q        Okay. I'm going to give you my pen, if you           22         Q     Okay. And you said that was about .6 miles?
23   don't mind, if you want to mark up the map in                       23         A     Yes. I checked it. It's .6 miles.
24   correspondence to my questions. Could you -- could                  24         Q     Okay. Could you put another X on the map
25   you circle the area on the map about where you were                 25   where you think you turned on your lights and sirens?


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1         A     I turned them on before I was out of the lot.        1    marked as Plaintiff's Exhibit No. 1 for
2         Q     Okay. So basically where that circle is you          2    identification.)
3    drew?                                                           3                MS. LAUGHLIN: Can I see that, please?
4         A     Yeah. As soon as they -- as soon as they             4                MR. GRYSKEWICZ: Yeah. Absolutely.
5    identified the vehicle to me, I immediately turned              5                THE WITNESS: Sorry about the scribbling. Do
6    them on and pulled out.                                         6    you want me to sign it or anything?
7         Q     Okay. Now, you would -- you would agree with         7                MR. GRYSKEWICZ: I don't think you have to
8    me that absent, you know, Officer Brown and Engel               8    sign it. I think the transcript will be clear you
9    being stationed on Eckard Road with the tack strips,            9    wrote on it.
10   Mr. Barasky could have driven straight past Miller              10               THE WITNESS: Okay.
11   Road?                                                           11               MS. LAUGHLIN: Thank you.
12        A     Correct.                                             12   BY MR. GRYSKEWICZ:
13        Q     And --                                               13           Q   Now, as part of -- Chief Hope, you saw me
14        A     That was one of the concerns, I believe, you         14   write. I wrote Plaintiff Exhibit 1 on the top of
15   know, if he would have got past that.                           15   that. Right? You didn't write that, right? I did?
16        Q     And you would agree with me, you don't know          16           A   Correct. Yeah.
17   if Mr. Barasky was turning onto Miller Road to go to            17           Q   How many arrests do you believe you made in
18   Brentwood Drive or if he made that loop because he saw          18   your career as a police officer?
19   Officer Brown and Engel?                                        19           A   Few hundred.
20        A     I do not know.                                       20           Q   Were some of those for drug crimes?
21        Q     And you would agree with me if he went               21           A   Yeah. If I was on patrol and, you know,
22   straight past Miller Road, there's, you know, a                 22   stopped a vehicle and had drugs on them or -- but, you
23   multitude of areas he could have went to?                       23   know, usually if it -- if it was a drug arrest, it was
24        A     Yes. He did put his turn signal on for               24   something like that. You know, a stop of somebody and
25   Miller Road, though.                                            25   found drugs on them or -- a vehicle stop, something

                                                                42                                                                    44
1         Q     Okay. And did he have his turn signal on             1    like that. Yes. Nothing really involved with search
2    after you were already behind him with your lights and          2    warrants, and that was a lot bigger and others handled
3    sirens?                                                         3    that.
4         A     No.                                                  4            Q   And you said previously you didn't really use
5         Q     So --                                                5    informants much in your career?
6         A     Not until we got to Miller Road.                     6            A   No, I did not.
7         Q     Okay.                                                7            Q   Are you familiar with criminal use of a
8         A     As I said, he gave no indication that he was         8    communication facility charge under Section 7512 of
9    going to pull over or anything. I actually radioed my           9    the Crimes Code?
10   concerns that he's not stopping, and he put his turn            10           A   I'm aware of it, yes.
11   signal on for Miller Road. So as you started to turn,           11           Q   Have you ever charged that in your career?
12   he then turned back out into the road.                          12           A   No, I haven't.
13        Q     Okay. So, yeah, maybe I poorly worded that           13           Q   Okay. Have you ever charged somebody with
14   question. So you -- you would have been behind him              14   the attempted delivery of a controlled substance in
15   with your lights and sirens on when the turn signal             15   your career?
16   was actually activated?                                         16           A   No, I have not.
17        A     Yes.                                                 17           Q   Now, as part of your training and experience
18        Q     Okay. So -- but you followed him for, you            18   as a police officer, when another department or
19   know, a certain distance before that turn signal was            19   officer tells you they need assistance with your
20   activated as well with your lights and sirens?                  20   arrest -- or with their arrest, what are you trained
21        A     Yes.                                                 21   to do in response?
22              MR. GRYSKEWICZ: Okay. I would just mark              22           A   I'm not sure I understand your question.
23   that map as Plaintiff's Exhibit 1 and have it attached          23           Q   Yeah. That's fine. It's probably poorly
24   to the transcript.                                              24   worded. So if, for example, another police department
25              (Whereupon, a document was produced and              25   contacted you for assistance in their investigation


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1    with making an arrest, what does your training tell              1    them.
2    you you should do in response to that?                           2                  MS. LAUGHLIN: Thank you. That's all the
3           A     In their investigation?                             3    questions I have.
4           Q     Um-hum.                                             4                  MR. WHITE: I don't have any questions.
5           A     Or just to assist them? Basically --                5                  MR. KOZLOWSKI: I don't have any questions,
6           Q     Let's say -- let me just completely reword          6    either. Anybody else?
7    the question --                                                  7                  MR. GRYSKEWICZ: I have one follow-up
8           A     Yeah.                                               8    question --
9           Q     -- because I can see how that would be              9                  MR. KOZLOWSKI: Sure.
10   confusing to you. So if another police department                10                 MR. GRYSKEWICZ: -- based on Attorney
11   contacted you for assistance, what are you trained to            11   Laughlin's question.
12   do in response?                                                  12                               REDIRECT EXAMINATION
13          A     Basically to do a briefing, like we did, and        13   BY MR. GRYSKEWICZ:
14   see what -- what they -- first of all, what they want            14          Q      When Officer Brown and Engel were stationed
15   from us --                                                       15   there, did they have their police vehicle blocking the
16          Q     Um-hum.                                             16   road?
17          A     -- and if we can provide that.                      17          A      No.
18          Q     As part of that, do you make an analysis of         18          Q      Okay.
19   whether, you know, your conduct is in correspondence             19          A      It was beside the road that they can maintain
20   with the law?                                                    20   behind it. It was -- that's hard to tell even on a
21          A     Yes.                                                21   map.
22          Q     In 2020 was the chief of police your only           22          Q      Um-hum.
23   job?                                                             23          A      But there was enough area there that they had
24          A     Yes.                                                24   it parked and then they were behind it, because there
25          Q     What was your annual pay from your job as           25   was no guide rail right there. There is a guard rail

                                                                 46                                                                      48
1    chief of police in 2020?                                         1    on Miller, but not there on Eckard at that point. So
2           A     2020. I retired in '21. Like 65,000.                2    they had it there that they could deploy them but
3                 MR. GRYSKEWICZ: That's all the questions I          3    still had the coverage of their -- I know there was a
4    have. Thank you, Chief.                                          4    steep back there, too, so -- but, no, it was not
5                 THE WITNESS: Um-hum.                                5    blocking the road at all.
6                 MR. GRYSKEWICZ: I appreciate your                   6           Q      So if they were told they had to deploy it,
7    cooperation.                                                     7    they could have deployed it and hid, essentially?
8                 THE WITNESS: Yep.                                   8           A      Correct. We -- we don't block roads.
9                                CROSS-EXAMINATION                    9           Q      Okay.
10   BY MS. LAUGHLIN:                                                 10          A      We don't block roads. I mean, that's just
11          Q     Chief, I just had a couple of questions. My         11   common. You know, you don't block a road. You're
12   name is Shawna Laughlin and I represent the City,                12   just creating more of an issue by blocking a road.
13   Captain Bell and Officer Gardner. The development                13   So, you know, you give them a means -- I don't want to
14   where Sumpter lived, was there only one way in and one           14   say -- not really a means of escape, but you do give
15   way out?                                                         15   him that thoroughfare there that they can, but we had
16          A     Yes. Yes, yes, yes. It just circled around          16   the stop sticks to be deployed in case he tried.
17   the development. Miller Road was the only access in              17                 MR. GRYSKEWICZ: That's the only question I
18   off of Eckard.                                                   18   had. Thank you.
19          Q     And the stop strip, did the other officers          19                 MS. LAUGHLIN: Nothing.
20   actually have that out on the road --                            20                 MR. KOZLOWSKI: All right. We're all set.
21          A     No, sir.                                            21                 (Whereupon, the deposition was concluded at
22          Q     -- are it was just there in case it was             22   9:58 a.m.)
23   needed?                                                          23

24          A     No, ma'am. They just had it there. They did         24

25   not have them deployed. No. They never deployed                  25



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1    COUNTY OF UNION                       :
2    COMMONWEALTH OF PENNSYLVANIA
                              :
3

4               I, Ervin S. Blank, the undersigned Notary
5    Public, do hereby certify that personally appeared
6    before me, JOSEPH W. HOPE; the witness, being by me
7    first duly sworn to testify the truth, the whole truth
8    and nothing but the truth, in answer to the oral
9    questions propounded to him by the attorneys for the
10   respective parties, testified as set forth in the
11   foregoing deposition.
12              I further certify that before the taking of
13   said deposition, the above witness was duly sworn,
14   that the questions and answers were taken down
15   stenographically by the said Ervin S. Blank, Court
16   Reporter, Lewisburg, Pennsylvania, approved and agreed
17   to, and afterwards reduced to typewriting under the
18   direction of the said Reporter.
19              In testimony whereof, I have hereunto
20   subscribed my hand this 27th day of March, 2024.
21

22

23                                      __________________________
                                        Ervin S. Blank
24                                      Reporter-Notary Public
                                        My Commission Expires
25                                      January 28, 2025




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